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IN THE UNITED STATES DISTRICT COURT.
FOR THE DISTRICT OF NEW MEXICO 2° 00 Uy:

   

 

CARL WILSON, an individual, and .
AUDREE WILSON, an individual, OB try

  

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. rid bs Ys
Plaintiffs, “09

v. No. CIV, 94-892:JC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation,

Defendants.
SUGGESTION OF ADDITIONAL AUTHORITY

COMES NOW defendant HarperCollins Publishers, Inc. by
and through its attorneys, Weil, Gotshal & Manges and Rodey,
Dickason, Sloan, Akin & Robb, P.A., and suggest that the case of
Webster v. Wilkins, No. A94A2255, 1995 WL 116406 (Ga. Ct. App.
Mar. 17, 1995), a copy of which is attached hereto as Exhibit A,
constitutes additional authority in support of its motion to
dismiss the claims of plaintiff Audree Wilson on the ground that
the references to her in "Wouldn’t It Be Nice" are nonactionable
opinion.

This case was decided on March 17, 1995 and was not
available for inclusion as authority when defendant’s memorandum
was filed.

Respectfully submitted,

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

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We hereby certify that a copy of
the foregoing was mailed to counsel
of record this PLY} day of May,.
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--S.E.2d--~- .
(Cite as: 1995 WL 116406 (Ga.App.))
WEBSTER
v.

WILKINS et al.
No. A94A2255.
Court of Appeals of Georgia.
March 17, 1995.
JOHNSON, Judge.

*1 Cox Enterprises, Inc. d/b/a The Atlanta
Journal and The Atlanta Constitution,
published a newspaper article concerning the
wedding of professional basketball player
Jacques Dominique Wilkins and Nicole Berry.
Part of the article described the prior personal
relationship between Wilkins and Elizabeth
Webster, who, after their relationship ended,
gave birth to a daughter fathered by Wilkins.
In the article, Cox quoted Wilkins as saying,
"[Webster] gives women in general a bad
name ... I probably shouldn’t say this, but I
want to take that kid from her. She’s unfit to
have a kid." Based on this quote, Webster
sued Wilkins and Cox for defamation. The
trial court granted summary judgment to
Wilkins and Cox, finding, among other things,
that the statement is merely an opinion that is
not capable of being proven true or false.
Webster appeals.

1. Webster contends the trial court erred in
ruling that Wilkins’ statement is merely an
expression of opinion. Webster cites the
proposition that "“[tJhere is no wholesale
defamation exemption for anything that might
be labeled opinion. To say otherwise would
ignore the fact that expressions of opinion may
often imply an assertion of objective fact...
The pivotal questions are whether [the]
statements can reasonably be interpreted as
stating or implying defamatory facts about
plaintiff and, if so, whether the defamatory
assertions are capable of being proved false."
(Citations and punctuation omitted.) Eidson v.
Berry, 202 Ga.App. 587, 587-588, 415 S.E.2d
16 (1992). Webster then reasons that Wilkins’
statement that she is not fit to have a child
implies an assertion of objective fact which is
capable of being proved false because her

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fitness as a parent could be determined by a
court of law pursuant to criteria set forth in
OCGA §§ 19-7-1 and 19-7-4.

Webster’s reasoning is unpersuasive because
implicit in it is the assumption that Wilkins
used the word “unfit" in its legal sense and
thereby implied some objective facts which
make Webster an unfit parent as determined
under Georgia law. Having reviewed Wilkins’
statement in the context of the entire article,
we cannot make this assumption. It is
apparent from the context of the article that
Wilkins did not use the phrase “unfit to have
a kid" in its legal sense or as a legal
conclusion, but used it only to express his
subjective opinion criticizing Webster’s
parental abilities. More importantly, the
average reader would not have construed
Wilkins’ statement to be his legal conclusion
that pursuant to OCGA §§ 19-7-1 and 19-7-4
Webster is an unfit parent. “In considering
whether a writing is defamatory as a matter of
law, we look at what construction would be
placed upon it by the average reader."
(Citations and punctuation omitted.) Mead v.
True Citizen, 203 Ga.App. 361, 362, 417
S.E.2d 16 (1992). "[TJhe courts will not hunt
for a strained construction in order to hold the
words used as being defamatory." (Citations
and punctuation omitted.) Thomason v.
Times-Journal, 190 Ga.App. 601, 602(1), 379
S.E.2d 551 (1989). Webster’s reading of
Wilkins’ words is such a strained construction
because the average reader, construing the
statement in the context of the entire article,
would have taken the statement for what it
was, a subjective, hyperbolic opinion that
cannot be proved to be true or false and that
concerns a matter on which reasonable people
might differ; ice., Webster’s parental
capabilities.

*2 “[T]he expression of opinion on matters
with respect to which reasonable men might
entertain differing opinions is not libelous.
An assertion that cannot be proved false
cannot be held libelous. A writer cannot be
sued for simply expressing his opinion of
another person, however unreasonable the
opinion or vituperous the expressing of it may
be. However pernicious an opinion may seem,

 

EXHIBIT
 

 

 

 

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(Cite as: 1995 WL 116406, *2 (Ga.App.))

we depend for its correction not on the
conscience of judges and juries but on the
competition of other ideas." (Citations and
punctuation omitted.) Kendrick v. Jaeger, 210
Ga.App. 376, 377-878, 486 S.E.2d 92 (1993).
Because Wilkins’ statement was a wholly
subjective opinion not capable of proof or
disproof, the statement cannot support this
defamation action against either Wilkins for
saying it or Cox Enterprises for publishing it.
See Elder v. Cardoso, 205 Ga.App. 144, 144-
14511), 421 S.E.2d 753 (1992); Bergen v.
Martindale-Hubbell, 176 Ga.App. 745, 747(8),
337 S.E.2d 770 (1985).

2. Even if Wilkins’ statement was not
merely an opinion, the trial court correctly
granted summary judgment to Wilkins and
Cox because, contrary to Webster’s argument,
the oral statement was not slander per se, its
publication in the newspaper was not libel per
se, and therefore Webster was required to
show special damages. A statement may be
slanderous per se and not require special
damage to support an action if it imputes to
another a crime punishable by law, charges a
person with having some contagious disorder
or with being guilty of some debasing act
which may exclude her from society, or makes
charges against another in reference to her
trade, office or profession. OCGA § 51-5-4.
Similarly, “(libel per se consists of a charge
that one is guilty of a crime, dishonesty, or
immorality." (Citations and punctuation
omitted.) Mead, supra. Webster makes no
claim that the statement is a charge against
her trade, office or profession; rather, she
complains the statement may imply she is
guilty of a crime, a debasing act which might
exclude her from society, dishonesty or
immorality.

Webster’s complaints are without merit.
The statement that she is "unfit to have a kid"
simply does not rise to the level of imputing
any specific crime, debasing act, dishonesty or
immorality; to conclude otherwise strains the
obvious meaning of the statement. See
generally Meyer v. Ledford, 170 Ga.App. 245,
246(1), 316 S.E.2d 804 (1984). Because the
statement is not slander or libel per se, but is
merely a derogatory or disparaging remark,

 

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special damages must be shown. See Connell
v. Houser, 189 Ga.App. 158, 160(4Xb), 375
S.E.2d 136 (1988).

"The special damages necessary to support
an action for defamation, where the words are
not actionable in themselves must be the loss
of money, or of some other material temporal
advantage capable of being assessed in
monetary value. The loss of income, of profits,
and even of gratuitous entertainment and
hospitality will be special damage if the
plaintiff can show that it was caused by the
defendant’s words." (Citations, punctuation
and emphasis omitted.) Jamison v. First Ga.
Bank, 193 Ga.App. 219, 222-223(3), 387 S.E.2d
375 (1989). In her complaint, Webster has not
specified any loss of money due to the
statement. Moreover, at her deposition she
testified that she has not sustained any
financial or economic damage as a result of
the statement. Given Webster’s failure to
plead or prove any special damages caused by
the allegedly defamatory statement, the trial
court correctly granted summary judgment to
Wilkins and Cox Enterprises.

*3 3. Because of our decisions in Divisions 1
and 2, we need not address Webster’s
remaining arguments.

Judgment affirmed.

McMURRAY, P.J., BIRDSONG, P.J.,
ANDREWS, BLACKBURN, SMITH, and
RUFFIN, JJ., concur.

BEASLEY, C.J., and POPE, P.J., dissent.
BEASLEY, Chief Judge, dissenting.

1. The majority holds that it is apparent
from the context of the subject newspaper
article that Wilkins did not use the phrase
“unfit to have a kid" in its legal sense or as a
factual statement, and that the average reader
would have construed this statement as a
hyperbolic opinion that cannot be proved true
or false concerning a matter on which
reasonable people might differ, i.e., Webster’s
parental capabilities. I respectfully dissent.

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Wilkins is a well-known professional
basketball player. Webster met him while
standing in line waiting to get into an Atlanta
nightclub. This occurred shortly before she
began law school at Georgia State University.
After dating him, she gave birth to a female
child, Chloe. When he refused to assist with
maternity expenses, Webster instituted a
paternity action against him. HLA blood
testing identified him as the probable father,
and Wilkins entered into a_ child-support
agreement with Webster.

She later instituted contempt proceedings
against him, for non-compliance with the
agreement, and then a complaint for sexual
battery, which was dismissed. He thereafter
filed a complaint against her for malicious
prosecution, to which she filed a counterclaim
for sexual harassment. Both were dismissed.
Webster’s filing of the  sexual-battery
complaint against Wilkins was reported in
various newspapers throughout the country,
and some of these reports made mention of the
prior paternity action. The acrimonious
dissolution of their relationship, and the
attendant litigation, were also reported in the
local media.

Wilkins subsequently became engaged to
another woman, and he asked the defendant
newspaper to write an article concerning his
impending marriage. After discussing
Wilkins’ relationship with Webster, the
paternity action, and other litigation between
them, the article quotes Wilkins as saying,
"She [Webster] gives women in general a bad
name ... I probably shouldn’t say this, but I
want to take that kid [Chloe] from her. She’s
unfit to have a kid."

A review of the article shows that it is in no
way apparent from its context that Wilkins
did not use this phrase either in its factual or
legal sense. Moreover, there is evidence in
this case showing that Wilkins in fact had
planned to sue Webster for custody of the child
and give her to his mother and that the
reporter who wrote this article was aware of
that.

While it is true that reasonable people

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might hold differing opinions on any given
individual’s parental abilities, in this case
Webster has presented abundant evidence that
she is a very capable and loving parent, and
the defendants have presented no evidence
that she is not. To the contrary, Wilkins
testified that, in fact, he does not know what
kind of parent Webster is because he rarely
has a chance to see the child. He
acknowledged that she "looked pretty
healthy" on the few occasions he had seen her.
Clearly, Wilkins has not established truth as a
defense to Webster’s defamation charge, and
he is not entitled to summary judgment on
this basis. Compare Pinkston v. City of
Albany, 196 Ga.App. 43, 47(3), 395 S.E.2d 587
(1990).

*4 Wilkins’ accusatory statement against
Webster as a mother explains, without going
into detail, why he as father desires to remove
the child from her custody. He connotes, by
his prefatory remark, that he knows the
seriousness of his statement, especially when
made to a newspaper reporter instigated and
prompted by him to write an article for
publication about his marital and family

affairs.

Under the law of defamation, if an opinion is
expressed without disclosing the underlying
factual basis, the opinion is actionable if the
opinion implies or creates a reasonable
inference that the opinion is justified by the
existence of undisclosed defamatory and false
facts. Metcalf v. KFOR-TV, 828 F.Supp.
1515, 1529 (W.D.Okla.1992), citing the
Restatement of Torts, § 566. “The pivotal
questions are whether [the] statements can
reasonably be interpreted as stating or
implying defamatory facts about plaintiff and,
if so, whether the defamatory assertions are
capable of being proved false." Eidson v.
Berry, 202 Ga.App. 587, 588, 415 S.E.2d 16
(1992).

Innumerable child custody cases in which
parental fitness is drawn in issue demonstrate
that the assertion that a parent is unfit to
have her child can be interpreted as implying
defamatory facts about the parent and is
capable of being proved true or false. Perkins

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v. Courson, 219 Ga. 611, 624(2), 185 S.E.2d
388 (1964) holds, e.g., that a parent’s right to
child custody may be lost based upon a finding
of unfitness where it has been shown “for
instance, that the parent is afflicted either
mentally or physically to the extent that he
cannot provide any care for the child; that he
suffers from a serious and contagious disease
which would endanger the child; that he has
criminal tendencies making it hazardous to
expose a child to him; or that he has other
such disqualifications not coming within {the
Georgia Code]." The Code itself provides that
a parent can lose parental power under the
law for, among other things, “[flailure to
provide necessaries for the child or
abandonment of the child ... or [c]ruel
treatment of the child." OCGA § 19-7-1(b). A
parent’s right to custody may be lost if, for
instance, the child “is being reared under
immoral, obscene, or indecent influences
which are likely to degrade fher] moral
character and devote [her] to a vicious life and
it appears ... that by reason of the neglect,
habitual drunkenness, lewd or other vicious
habits, or other behavior of the parents ..., it is
necessary for the welfare of the child to protect
the child from such conditions." OCGA § 19-7-
4.

Wilkins’ public statement is that he knew
things about Webster which made her unfit to
have custody of their daughter. He went
further and announced that he as father
wanted to deprive the mother of custody.
Considering Wilkins’ statement about
Webster in context, it is not as a matter of law
a mere expression of opinion.

2. The trial court also erred in granting
summary judgment to Cox.

*5 A publisher who defames a private figure
plaintiff may constitutionally be held liable in
tort under a standard of ordinary care.
Triangle Publications v. Chumley, 253 Ga.
179, 180(1), 317 S.E.2d 534 (1984). In this
action, Webster is not a limited purpose public
figure. Time, Inc. v. Firestone, 424 U.S. 448,
96 SC 958, 47 LE2d 154 (1976). Thus, the
issue is one of negligence, and the standard of
conduct is defined by reference to the

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procedures a reasonable publisher in
defendant’s position would have employed.
Triangle Publications, supra, at 181.

While doing research for the article, reporter
Auchmutey discovered that after Webster filed
the paternity action against Wilkins, he
falsely stated that he did not know her. He
was thus aware of Wilkins’ propensity for
making false statements about Webster.
Auchmutey also interviewed Wilkins’ mother,
Gertrude Baker. She told him that, as a result
of Wilkins’ anger toward Webster, he was
planning “to go after" Chloe and give her to
Baker, but that Baker did not want to raise
the child because Baker was too old.
Auchmutey was thus aware that when
Wilkins stated that he wanted to take the
child away from Webster, he meant it.

Auchmutey also spoke to Webster on several
occasions before the article was published. He
testified that he did not inquire of her or
anyone else whether she is in fact a fit parent,
essentially because he interpreted Wilkins’
statement as an expression of his anger rather
than a literal accusation that she was not a fit
custodian for the child. His focus should have
been on how the reader would have
interpreted it. In essence, Auchmutey also
testified that he interpreted the statement as
rhetorical hyperbole. See generally Fram v.
Yellow Cab Co., 380 F.Supp. 1314, 1329.
1330(19) (W.D.Penn.1974). The context of the
statement, and facts known to Auchmutey and
established of record, wholly belie this
characterization.

The evidence in this case presents a triable
issue of fact on the question of whether the
newspaper was negligent in publishing the
allegedly defamatory statement.

3. Webster contends that as a matter of law
Wilkins’ statement "[sJhe is unfit to have a
kid," referring to their one-year-old daughter
Chloe, and the reason he wants to deprive the
mother of custody, constitutes slander
actionable per se without proof of special
damages.

Subsection (a) of OCGA § 51-5-4 states that

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a

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slander or oral defamation consists in: "(1)
Imputing to another a crime punishable by
law; (2) Charging a person with having some
contagious disorder or with being guilty of
some debasing act which may exclude him
from society; (3) Making charges against
another in reference to his trade, office, or
profession, calculated to injure him therein;
or (4) Uttering any disparaging words
productive of special damage which flows
naturally therefrom." Webster does not allege
the presence of a subsection 4 situation, which
requires proof of special damages, but rather
‘that the statement falls into one of the other
three categories, where damage is inferred.
OCGA § 51-5-4(b).

*§ Wilkins’ statement that Webster "is unfit
to have a kid" is not a charge against her in
reference to her trade, office, or profession.
Under Georgia’s parental fitness doctrine, the
statement can be interpreted as implying that
she has committed a crime punishable by law,
such as against the child, or is guilty of some
debasing act such as would exclude her from
society, such as parental unfitness could. See
Div. 1, supra. This does not mean that the
statement is defamatory as a matter of law.
. Whether it is depends on what construction
would be placed on it by the average reader.
Mead v. True Citizen, Inc., 203 Ga.App. 361,
362, 417 S.E.2d 16 (1992); see Stalvey v.
Atlanta Business Chronicle, 202 GA.App. 597,
59X11), 414 S.E.2d 898 (1992). Legal
definitions are not controlling, Thuma v. The
Hearst Corp., 340 F.Supp. 867, 871-872(3)
(D.Md.1972), but they are not irrelevant
either. Where, as here, the words spoken are
capable of having a defamatory per se
meaning by intimation or innuendo, whether
the words were in fact so understood presents
a jury question. See Southland Corp. v.
Garren, 135 Ga.App. 77, 78(2,3), 217 S.E.2d

347 (1975) (the statement that plaintiff was.

“fired for shortages" may be found by a jury to
have imputed to her a crime), rev’d on other
grounds, 235 Ga. 784, 221 S.E.2d 571 (1976).

4, Webster urges that, as a matter of law,
the statement “[s]he is unfit to have a kid" in
the context reported constitutes newspaper
libel actionable per se without proof of special

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damages. OCGA § 51-5-2(a) provides: "Any
false and malicious defamation of another in
any newspaper, magazine, or periodical,
tending to injure the reputation of the person
and expose him to public hatred, contempt, or
ridicule, shall constitute a newspaper libel."

What is contained in Division 3, supra,
pertains here. The words published by the
newspaper concerned the father’s assessment
of the mother as unfit to parent their year-old
daughter. Whether this tended to injure
Webster’s reputation and expose her to public
hatred, contempt, or ridicule are questions for
the jury. If the jury finds that the words
published tended to have this effect, then
Webster may recover in accordance with
OCGA § 51-5-2 without proof of special
damages.

These are all factual matters capable of
proof.

I am authorized to state that Presiding
Judge Pope joins in this dissent.

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